                     Case 5:20-cv-00938-FJS-TWD Document 35 Filed 03/08/21 Page 1 of 2
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                                                                March 8,202I



       Honorable Therese Wiley Dancks
       U.S. District Court
       Northern District of New York
       James M. Hanley Federal Building
       and U.S. Courthouse
       100 South Clinton Street
       Syracuse, NY 13261



                         Re:     Chen v. State Farm Fire and Casualtv Company. et al.
                                 Civil   Case   No.: 5:20-CV-0938

      Dear Judge Dancks,

                         I write on behalf of plaintiff in the above action to provide a status report.

             As you may recall, the parties are conducting a mediation on March 10. Since our last
      conference, I have worked with State Farm's counsel to schedule depositions. At this time, we
      have the following depositions scheduled:

                         o      Tuesday, Apr. 13 - Jing Ni Chen (Plaintiffls Wife) and Yi Lin Chen (Plaintiffls
                                Daughter);
                         o      Wednesday, Apr. 14 - Hao Chen (plaintiff s Brother);
                         o      Monday, April 19. - Plaintiff Xu Chen;
                         o      Tuesday, April20 - Ms. Susan Li (Nonparty, realtor subpoenaed by State Farm);
                         o      Thursday, Apr 22 - Matt Psichoulas (State Farm Corp. Rep);
                         o      Tuesday, Apr 27 -Dawnchen (plaintiff s Sister) and Mr. chen,s Mother; and
                         o      Thursday, Apr 29 - Scott storm (State Farm investigating attorney)

              We are awaiting confirmation from the witnesses scheduled for the 27th and,2gthbutdo not
      anticipate any problems.

                      Thank you for your attention to this matter and please feel free to contact me with any
      questions.
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                                    Very truly yours,



                                           W. Shannon

KWS/mg

cc:    James P. Lagios, Esq.
